         Case 1:19-cr-00561-LAP Document 209 Filed 11/07/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

         -against-                                 19-CR-561 (LAP)
                                                   11-CV-691 (LAK)
STEVEN DONZIGER,
                                                      ORDER
                 Defendant.


LORETTA A. PRESKA, UNITED STATES DISTRICT JUDGE:

    Defendant’s motion to adjourn the trial is granted, upon the

agreement of the parties.

    Trial shall commence on January 19, 2021, at 10:00 a.m. in

courtroom 12A or such courtroom as shall hereafter be designated.

    Counsel shall confer and inform the Court no later than

December 10 whether they will be making opening statements or have

any other procedural issues.

    Out of an excess of caution, time is excluded until January 19,

2021, from calculation under the Speedy Trial Act in the interests

of justice to permit defense counsel to prepare for trial.


SO ORDERED.

Dated:   November 7, 2020



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                                           LORETTA A. PRESKA, U.S.D.J.




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